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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  ROGER HALL, et al.,

                        Plaintiffs,

                 v.                               Civil Action No. 04-0814 (RCL)

  CENTRAL INTELLIGENCE AGENCY,

                        Defendant.



                       NOTICE OF SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States Attorney

Kathleene Molen as counsel of record for Defendant in the above-captioned case and remove

Assistant United States Attorney Christopher C. Hair as counsel for Defendant.


Dated: July 29, 2020                                Respectfully submitted,

                                                      /s/ Kathleene Molen
                                                    KATHLEENE MOLEN
                                                    VA BAR #68460
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 803-1572
                                                    Kathleene.Molen@usdoj.gov
